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18                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                   OAKLAND DIVISION
20   DEFENDERS OF WILDLIFE, et al.,               Case No. 4:21-cv-344-JSW
21                                                         4:21-cv-349-JSW
            Plaintiffs,                                    4:21-cv-561-JSW
22
                    vs.
23
     U.S. FISH AND WILDLIFE SERVICE, et al.,      NOTICE OF APPEAL BY NATIONAL
24                                                RIFLE ASSOCIATION OF AMERICA
            Defendants, and                       AND SAFARI CLUB INTERNATIONAL
25

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     Notice of Appeal by NRA and SCI, Case No. 4:21-cv-344-JSW, 4:21-cv-349-JSW, 4:21-cv-561-
28   JSW
                                                                                        1
     NATIONAL RIFLE ASSOCIATION OF
 1   AMERICA and SAFARI CLUB
 2   INTERNATIONAL,

 3         Defendant-Intervenors.
     ______________________________________
 4
     WILDEARTH GUARDIANS, et al.,
 5
           Plaintiffs,
 6
                   vs.
 7
     DEBRA HAALAND, et al.,
 8
 9         Defendants, and

10   NATIONAL RIFLE ASSOCIATION OF
     AMERICA and SAFARI CLUB
11   INTERNATIONAL,
12         Defendant-Intervenors.
13   ______________________________________
     NATURAL RESOURCES DEFENSE
14   COUNCIL, INC.,
15
           Plaintiff,
16
                   vs.
17
     UNITED STATES DEPARTMENT OF THE
18   INTERIOR, et al.,
19         Defendants, and
20   NATIONAL RIFLE ASSOCIATION OF
21   AMERICA and SAFARI CLUB
     INTERNATIONAL,
22
           Defendant-Intervenors.
23   ______________________________________

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     Notice of Appeal by NRA and SCI, Case No. 4:21-cv-344-JSW, 4:21-cv-349-JSW, 4:21-cv-561-
28   JSW
                                                                                        2
 1          Please take notice that Defendant-Intervenors National Rifle Association of America and

 2   Safari Club International jointly appeal to the United States Court of Appeals for the Ninth

 3   Circuit from this Court’s February 10, 2022 Order Resolving Cross-Motions for Summary

 4   Judgment in favor of Plaintiffs and against Defendants, and from the February 10, 2022

 5   Judgment entered in favor Plaintiffs and against Defendants. Dkt. 138, Dkt. 139. Defendant-

 6   Intervenors appeal only the findings for which this Court granted Plaintiffs’ Motion for

 7   Summary Judgment, including that remand with vacatur is appropriate. Dkt. 138.

 8          Defendant-Intervenors’ Representation Statement is attached to this notice pursuant to
 9   Federal Rule of Appellate Procedure 12(b) and Ninth Circuit Rules 3-2(b) and 12-2.
10          Dated: April 11, 2022.
                                                          Respectfully Submitted,
11

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22                                                        /s/ Jeremy E. Clare
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28   561-JSW
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28   JSW
                                                                                       4
 1                                REPRESENTATION STATEMENT

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28   JSW
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28   JSW
                                                                                        6
 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on April 11, 2022, I caused the foregoing document to be

 3   electronically filed with the Clerk of the Court using the CM/ECF system, which will serve all

 4   counsel of record.
                                                                /s/ Jeremy Clare
 5                                                              Jeremy Clare
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